           Case 2:11-cr-00323-JAM Document 84 Filed 06/11/12 Page 1 of 3


1    DINA L. SANTOS, Bar #204200
     A Professional Law Corporation
2    428 J Street, 3rd Floor
     Sacramento, California 95814
3    Telephone: (916) 447-0160
4
5    Attorney for Defendant
     WILLIAM BOHAC
6
7                         IN THE UNITED STATES DISTRICT COURT
8                       FOR THE EASTERN DISTRICT OF CALIFORNIA
9
10
11   UNITED STATES OF AMERICA,          )   No. CR-S 11-323 JAM
                                        )
12                     Plaintiff,       )
                                        )   STIPULATION AND ORDER VACATING
13        v.                            )   DATE, CONTINUING CASE, AND
                                        )   EXCLUDING TIME
14                                      )
     WILLIAM BOHAC,                     )
15   KENNETH EATON,                     )   Date   July 17, 2012
     JONATHAN GANEY,                    )   Time: 9:45 a.m.
16                                      )   Judge: Hon. Mendez
                       Defendants.
17
     _______________________________
18
          IT IS HEREBY STIPULATED by and between Assistant United States
19
     Attorney Jared Dolan, Counsel for Plaintiff, and Attorney Dina L.
20
     Santos, Counsel for Defendant William Bohac; Attorney Chris Cosca,
21
     Counsel for Kenneth Eaton; Attorney Matthew Bockman, Counsel for June
22
     12, 2012, be vacated and the matter be continued to this Court's
23
     criminal calendar on July 17, 2012,at 9:45 a.m. for further status.
24
          This continuance is requested by the defense in order to permit
25
     counsel to continue in negotiations with the prosecution in attempt to
26
     reach a resolution, meet with the clients to discuss various
27
     resolutions, and to continue the defense investigation and review of
28
           Case 2:11-cr-00323-JAM Document 84 Filed 06/11/12 Page 2 of 3


1    the voluminous discovery.
2
3         IT IS FURTHER STIPULATED that time for trial under the Speedy
4    Trial Act, 18 U.S.C. § 3161 et. seq. be tolled pursuant to §
5    3161(h)(7)(A) & (B)(iv), Local code T-4 (time to prepare), and that the
6    ends of justice served in granting the continuance and allowing the
7    defendant further time to prepare outweigh the best interests of the
8    public and the defendant in a speedy trial.
9         The Court is advised that all counsel have conferred about this
10   request, that they have agreed to the July 17, 2012 date, and that all
11   counsel have authorized Ms. Santos to sign this stipulation on their
12   behalf.
13
14
15
16
17        IT IS SO STIPULATED.
18
19   Dated: June 8, 2012                     /S/ Dina L. Santos
                                            DINA L. SANTOS
20                                          Attorney for
                                            William Bohac
21
22   Dated: June 8, 2012                     /S/ Chris Cosca
                                            CHRIS COSCA
23                                          Attorney for
                                            Kenneth Eaton
24
     Dated: June 8, 2012                     /S/ Matthew Bockman
25                                          MATTHEW BOCKMAN
                                            Attorney for
26                                          Jonathan Ganey
27
28
           Case 2:11-cr-00323-JAM Document 84 Filed 06/11/12 Page 3 of 3


1    Dated: June 8, 2012                     /S/ Jared Dolan
                                            JARED DOLAN
2                                           Assistant United States Attorney
                                            Attorney for Plaintiff
3
4
5
6
                                       O R D E R
7
         IT IS SO ORDERED.
8
                    By the Court,
9
10
     Dated: June 8, 2012
11                                          Hon. John A. Mendez
                                            United States District Court Judge
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28
